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                                                    #:6479


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                    Inc.
                  8
                  9                       UNITED STATES DISTRICT COURT
                 10                     CENTRAL DISTRICT OF CALIFORNIA
                 11 ACTIVISION PUBLISHING, INC., a            CASE NO. 2:21-cv-3073-FLA (JCx)
                    Delaware corporation,
                 12                                           [Judge Fernando L. Aenlle-Rocha]
                               Plaintiff,
                 13
                         v.                                   EXHIBITS 154-158 TO
                 14                                           SUPPLEMENTAL
                    WARZONE.COM, LLC,                         DECLARATION OF MARC E.
                 15                                           MAYER
                               Defendant.
                 16                                           REDACTED VERSION OF
                    WARZONE.COM, LLC,                         DOCUMENTS PROPOSED TO BE
                 17                                           FILED UNDER SEAL
                               Counterclaimant,
                 18                                           Date:           March 21, 2025
                         v.                                   Time:           1:30 p.m.
                 19                                           Ctrm:           6B
                    ACTIVISION PUBLISHING, INC., a
                 20 Delaware corporation,                     Complaint Filed:     Apr. 8, 2021
                                                              Counterclaim Filed: June 8, 2021
                 21              Counterdefendant.            Pretrial Conference: May 19, 2025,
                                                                                   at 1:30 p.m.
                 22                                           Trial:               May 27, 2025,
                                                                                   at 8:15 a.m.
                 23
                 24
                 25
                 26
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
20503012.1
                               EXHIBITS TO SUPPLEMENTAL DECLARATION OF MARC E. MAYER
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                                    #:6480




             Conditionally Filed Under Seal Pending
                Application to File Under Seal


                     EXHIBIT 154
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                Application to File Under Seal


                     EXHIBIT 155
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                Application to File Under Seal


                     EXHIBIT 156
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                     EXHIBIT 157
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                                    #:6484




             Conditionally Filed Under Seal Pending
                Application to File Under Seal


                     EXHIBIT 158
